UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

CASE NO. 3:17-cv-149-FDW-DCK

CARLSON ENVIRONMENTAL )

CONSULTANTS, PC, )
)

Plaintiff, ) AFFIDAVIT OF JAKE RAU
)
v. )
)
SEAN SLAYTON, )
)
Defendant. )

I, Jake Rau, being duly sworn, depose and state the following:

1. I am over the age of 18 and otherwise competent to make this affidavit. The
statements made in this affidavit are based on my personal knowledge, unless otherwise
indicated upon information and belief.

2. Tam a Principal of Landmarc Environmental Systems (“Landmare”). For over a
decade, Landmare has provided various services to waste management companies, including
services to help manage landfill gas and leachate. One of the ways Landmarc assists its
customers is through drilling and piping methane that is produced by landfills.

3. One of Landmarc’s primary customers has been Republic Services, Inc.
(“Republic”). Landmare has been working with Republic for approximately 15 years and has
been providing landfill gas drilling services to Republic for over 10 years.

4. Historically, the services Landmarc has provided to Republic have been governed
by a Master Services Agreement (“MSA”). Landmare and Republic have been parties to several

MSAs over the years.

Case 3:17-cv-00149-FDW-DCK Document 21-2 Filed 09/14/17 Pagelof7
5, The most recent MSA, under which Landmarc is currently providing gas drilling
and construction services to Republic, was negotiated in 2015 and went into effect on January 1,
2016. The MSA has a three-year term, expiring on December 31, 2018.

6. The MSA governs the pricing for all of the gas drilling projects Landmarc does
for Republic. The prices under the MSA have been set through December 31, 2018. Landmarc
therefore does not bid on each of Republic’s gas drilling projects and its prices for those projects
are pre-determined. Because there is no bid process for the work Landmarc performs for
Republic under the MSA, Carlson Environmental Consultants, PC (“CEC”) does not compete
with Landmare for that work.

7. Republic has entered into MSAs with other primary contractors to perform gas
drilling services. I am familiar with those other contractors because Republic sends group emails
to its primary contractors and I am copied on those emails. CEC is not one of the contractors
listed in the group emails and is not one of Republic’s primary contractors,

8. From time to time, Landmare uses subcontractors to work on gas drilling projects.
One of the subcontractors it used in the past was Quality Drilling Services (“QDS”). Sean
Slayton performed the drilling work that Landmare subcontracted to QDS.

9. After CEC acquired QDS, Landmarc subcontracted some drilling work to CEC,
with Mr. Slayton again performing the work. In connection with the subcontracting work, CEC
disclosed to Landmarc its pricing information, including the price per linear foot that it charges
for landfill gas drilling services. CEC’s pricing information is therefore not a secret to
Landmare. CEC freely disclosed that information when it Sought the subcontracting work from

Landmarc and when it invoiced Landmare for that work.

Case 3:17-cv-00149-FDW-DCK Document 21-2 Filed 09/14/17 Page2of7

10. After CEC terminated Mr. Slayton’s employment in December 2016, Landmarc
hired him in January 2017 to perform landfill gas drilling services. For Landmarc, Mr. Slayton
operates a drill rig to drill holes in landfills where engineers tell him to drill holes. Mr. Slayton
does not supervise other drillers and has not supervised Josh Goosman at Landmarc.

11. Mr. Slayton has had no involvement in bidding for projects, setting pricing,
soliciting customers, or otherwise negotiating with customers, contractors or suppliers on behalf
of Landmarc. Landmare already has employees, including me, who handle those functions, and
it does not want or need Mr. Slayton to perform them.

12. Mr. Slayton has not shared with Landmare any confidential information or trade
secrets belonging to CEC. Slayton has not shared any of the salaries or other compensation CEC
pays to its employees. Nor has Mr. Slayton shared with Landmarc any of CEC’s price
formulations, methods of calculating bids, or any other information relating to CEC’s pricing or
bidding process. Such information would not be helpful to Landmare because of differences in
company size and overhead. In any event, Landmarc already knew CEC’s pricing information
through the subcontracting work CEC performed for Landmarc.

13. Since joining Landmarc, Mr. Slayton has performed work for the following five
entities: (1) Republic; (2) the City of Amarillo; (3) BEL Environmental (“BEL”); (4) Clark
Floyd Landfill; and (5) Advanced Disposal.

14. Around 75% of the work Mr. Slayton has performed since joining Landmarc has
been for Republic under the terms of the MSA, which were negotiated before Mr. Slayton
became employed by Landmarc.

15. Landmarc obtained the project for the City of Amarillo through an open, public
bid process. Attached as Exhibit A are copies of the opening bid sign-in sheet and the amounts

3

Case 3:17-cv-00149-FDW-DCK Document 21-2 Filed 09/14/17 Page 3of7
for the bids that were submitted. The sign-in sheet shows that CEC did not attend a mandatory
pre-bid meeting in May 2017 and the bid sheet shows that CEC did not bid on this project. Greg
Zimmerman (Project Expeditor) and I prepared Landmare’s bid for this project. Sean Slayton
had no involvement in the bid process,

16. Earlier this year, Landmare bid on, and lost, a project for Waste Management
Services, Inc. (“Waste Management”) to perform drilling services at its landfills located in
Hickory Hill, SC, Oak Hill, SC, and Louisville, KY. BEL, which won the bid and with which I
had a past relationship, contacted me directly to see if Landmarc was interested in doing
subcontracted drilling work on the project. Casey Taylor (Project Manager) and I prepared a
price quote for the subcontracting work. BEL retained Landmarc, and, upon information and
belief, never asked CEC to submit a quote. Mr. Slayton was not involved in preparing the
original bid to Waste Management or the quote to BEL. After BEL retained Landmarc, Mr.
Slayton performed some drilling work under the subcontract at the Louisville, KY landfill.

17. Landmarc obtained the Clark Floyd landfill work through a personal relationship
between Mr, Taylor and the landfill’s engineer. This was a small project involving only three
wells and the landfill was therefore having difficulty obtaining quotes. Landmarc had a drill
nearby and was therefore able to do the work without incurring substantial transportation costs.
Mr. Taylor prepared the quote for the work, Mr. Slayton was not involved in obtaining the work
or preparing the quote.

18. Landmare obtained the work for Advanced Disposal through a professional
relationship between a Senior Project Manager at Advanced Disposal and Bryan DeVerona, a
Senior Project Manager at Weaver Consultants Group, LLC (an affiliate of Landmarc). Mr.
Slayton was not involved in obtaining this work or pricing the job.

4

Case 3:17-cv-00149-FDW-DCK Document 21-2 Filed 09/14/17 Page4of7
19. | am familiar with a separate project that was put out for bid at the Arbor Hills
landfill in Michigan. Landmare did not bid on that project.

20. I am familiar with Bauer Pileco, which is a supplier of drilling equipment.
Landmare and I have had a relationship with Bauer Pileco since well before Mr. Slayton started
working for Landmare. On behalf of Landmarc, I have been involved in the negotiations with
Bauer Pileco for drilling equipment. Mr. Slayton has had no involvement in any such
negotiations, and Landmare does not need or want Mr. Slayton to be involved in them.

This the [3 aay of September, 2017.

ILLINOIS

COOK COUNTY

1, hebénr Kern iw? _,a Notary Public do hereby certify that JAKE RAU, personally
appeared before me this day and acknowledged the due execution of the foregoing Affidavit.

WITNESS my hand and official seal, this the /2 “hay of September, 2017.

. ~

Notary Public  “ 7”

My Commission Expires: __ 7 ° 2 xe Lib

OFFICIAL SEAL
ROBERT B PERNINI

NOTARY PUBLIC - STATE OF ILLINOIS
MY COMMISSION EXPIRES: 10/26/18

Case 3:17-cv-00149-FDW-DCK Document 21-2 Filed 09/14/17 Page5of7
CITY OF AMARILLO PURCHASING DEPARTMENT
BID OPENING SIGN IN SHEET

June 1, 2017

PLEASE READ:

“Pursuant to Local Government Code 252.041 we will open & read aloud all bids that are due to
open today. In no way does reading these bids indicate that the bids received are complete and
correct. This will be determined only in the bid evaluation phase.”

Recap sheets will be posted on website by noon Friday.

Bids will be made available for review after bid opening, by submitting an “open records
request” to the Purchasing Agent in writing.

NAME Acart Haenese company_C-A

name Kobest Bu Her company_Sc §

NAME Letaye Tinga COMPANY _Candmeett Cautran smarts |
NAMECIe Kesler company +i(le- & Sens,
NAME_Adam Hamed company_Spiess Construction

NAME___—~ 7p Kg COMPANY__4y_ ge Mare) py
NAME_VS. ~ Cae COMPANY LOK
LO

NAME COMPANY.

NAME COMPANY

Case 3:17-cv-00149-FDW-DC : iled 09/14/17 Page 6 of 7
BID NO. 5761 CITY OF AMARILLO LANDFILL
GAS COLLECTION AND CONTROL SYSTEM-PHASE 1

}SES Elven Sesto
— ‘
Zeiess Co Sinnehonl

Case 3:17-cv-00149-FDW-DCK Document 21-2 Filed 09/14/17 Page /7of7
